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                           UNITED STATES BANKRUPTCY
                            COURT FOR THE WESTERN
                           DISTRICT OF TEXAS EL PASO
                                    DIVISION

   IN RE:                                §
                                         §
                                         §
                                         §                  Chapter 7
   PDG PRESTIGE, INC.                    §
                                         §
                                         §            Case No. 21-30107-cgb
                                         §
                                         §
        Debtor.                          §



   LEGALIST DIP GP, LLC,                 §
                                         §
  and                                    §
                                         §
  PDG PRESTIGE, INC. (by and through     §
  Ronald Ingalls, Chapter 7 Trustee)     §
    Plaintiffs,                          §

  v.

  MICHAEL                                §
  DIXSON, individually, MESILLA          §           Adv. No. 23-03004-cgb
  VALLEY VENTURES, LLC, MICHAEL          §
  DIXSON TRUST THROUGH ITS               §
  TRUSTEE MICHAEL J. DIXSON,             §
  CHRISTIANA DIXSON,                     §
  SOUTHWESTERN ABSTRACT &                §
  TITLE COMPANY, INC., and WEYCER,       §
  KAPLAN, PULASKI & ZUBER P.C.           §
                                         §
        Defendants.



                      PLAINTIFFS’ SECOND AMENDED COMPLAINT

       TO THE HONORABLE CHRISTOPHER G. BRADLEY,
       UNITED STATES BANKRUPTCY JUDGE:
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             COME NOW, Plaintiffs Legalist DIP GP, LLC (“Legalist,” or “DIP Lender”) and

    Chapter 7 Trustee Ronald Ingalls (“Trustee” and together with Legalist, “Plaintiffs”) and file

    this, its Second Amended Complaint and state the following:

                                            PARTIES

        1.      Plaintiff Legalist DIP GP, LLC can be served through its counsel of record in this

 proceeding.

        2.      Trustee Ronald Ingalls is the Chapter 7 trustee for Debtor PDG Prestige, Inc.

 (“Trustee”) in the main proceeding captioned above.

        3.      Defendant PDG Prestige Inc. (“PDG” or “Debtor”) is a Texas corporation

 company, with its principal place of business at 12912 Hill Country Blvd Ste F-235 Austin, TX

 78738-7102, and can be served via its President Michael Dixson, at 12912 Hill Country Blvd.,

 Bldg. F, Ste. 235, Austin, Texas 78738, or wherever it may be found.

        4.      Defendant Michael Dixson, individually (“Dixson”) under information and belief

 resides in Travis County, Texas, and can be served at 12912 Hill Country Blvd., Bldg. F, Ste.

 235, Austin, Texas 78738, or wherever he may be found and through his counsel, David Lutz,

 Martin & Lutz, P.C. P.O. Drawer 1837, Las Cruces, NM 88004 or at 2011 N. Main Street, Las

 Cruces, NM 88001.

        5.      Defendant Mesilla Valley Ventures, LLC (“Mesilla Valley”) is a Texas limited

 liability company located, and with its principal place of business, at 910 E Redd Rd Ste K El

 Paso, Texas 79912-7348. It can be served at its registered agent PDGTX Inc. at 2921 E 17 th

 Street, Building B, Austin, Texas 78702. Its sole manager/member is PDG Prestige, Inc.

        6.      Defendant Michael Dixson Trust (“Dixson Trust”), through its trustee Michael J.

 Dixson, can be served at 12912 Hill Country Blvd., Bldg. F, Ste. 235, Austin, Texas 78738, or



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 wherever he may be found and through his counsel, David Lutz, Martin & Lutz, P.C. P.O. Drawer

 1837, Las Cruces, NM 88004.

         7.       Defendant    Christiana    Dixson       aka   Christiana   Marmolejo,   individually

 (“Christiana”) is domiciled, and can be served, at 6 Candleleaf Ct, The Hills, Texas 78738-1444.

         8.       Defendant Southwestern Abstract & Title Company, Inc. (“Southwestern”) is a

 New Mexico corporation that has had its corporate charter revoked. According to the New

 Mexico Secretary of State, the most recent registered agent was Kevin L. Davis, who is also the

 last listed President, and is located at 1125 South Main, Las Cruces, NM 88005. 1125 South

 Main, Las Cruces, NM 88005 is also the listed principal place of business for Southwestern.

         9.       Defendant Weycer, Kaplan, Pulaski & Zuber, P.C. (the “Firm”) is a Texas

 professional corporation, with its principal place of business at 24 Greenway Plaza Suite 2050

 Houston, TX 77046, and which provides legal services and regularly transacts business within

 this district.

                                  JURISDICTION AND VENUE

         10.      The Court may exercise subject matter jurisdiction over this action under 28

 U.S.C. § 157 and 1334 because the matter is a core proceeding arising in a case under Title 11.

         11.      Venue is proper in this Court under 28 U.S.C. § 1409 the matter is arising in or

 related to a case under Title 11.

         12.      This Court has personal jurisdiction over Defendants because they have their

 principal place of business, reside, or regularly transact business, in this district.




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                              FACTS AND PROCEDURAL HISTORY

    A.         DIP Lending History – PDG

         13.      On February 15, 2021 (the “Petition Date”), PDG filed a voluntary petition for

 relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code” or “Code”).

         14.      PDG has continued in possession of its assets and management of its business

 pursuant to Bankruptcy Code sections 1107 and 1108 until the case was converted to Chapter 7

 and the Trustee was appointed.

         15.      Dixson is President of PDG and has managed all of the operations of PDG at all

 times and is its sole shareholder. PDG owns the majority of the equity of The Gateway Ventures,

 LLC (“Gateway”), a related entity.

         16.      On April 12, 2021, the Court conducted an expedited hearing regarding the

 Motion to (I) Enter into PDG Possession Credit Agreement, (II) Grant Priming Liens Under

 Code Sec.364(d), and (III) Provide Related Relief (Docket No. 24) (the “DIP Motion”) filed

 herein on March 26, 2021 by PDG. ECF No. 24.

         17.      On April 12, 2021, the Court entered the Final Order Granting Motion of Debtor

 to (1) Enter Into Debtor Possession Credit Agreement, (II) Grant Priming Liens Under Code Sec.

 364(D), and (III) Provide Related Relief (Re: Docket No. 24) (the “DIP Order”). ECF No. 43.

         18.      On April 12, 2021, PDG and DIP Lender entered into a PDG-In-Possession Term

 Loan Credit Agreement (the “DIP Agreement”) concerning certain investment fund(s) for which

 DIP Lender serves as general partner, lender, agent, and collateral agent. The DIP Lender agreed

 to extend DIP Loans (each a “DIP Draw”) on the certain terms described in the DIP Agreement

 in an aggregate maximum amount of $4,700,000 (the “DIP Commitment”).

         19.      On April 14, 2021, DIP Lender loaned Debtor $3,300,870.33.



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         20.     On April 23, 2021, DIP Lender loaned Debtor $1,399,129.67.

         21.     In toto, DIP Lender loaned PDG the principal amount of $4,700,000 (the “DIP

 Loan”).

         22.     According to Dixson and PDG, the DIP Loan was integral for PDG to refinance

 the existing debt that had precipitated the bankruptcy and to complete the development of the

 underlying property and “to preserve the ultimate value of the Property.” (DIP Motion, at paras.

 38-39). The DIP Loan was integral to the implementation of PDG’s reorganization.

         23.     Pursuant to the DIP Agreement, the DIP Loan, along with all DIP Obligations

 (interest and fees), matured on June 24, 2022.

         24.     On March 31, 2022, PDG filed its Second Amended Plan of Reorganization of

 PDG Prestige Inc. dated March 29, 2022, as Modified (ECF No. 145) (the “Plan”), which was

 confirmed the same day when the Court entered the Order Confirming Second Amended Plan of

 Reorganization PDG Prestige Inc. Dated March 29, 2022 as Modified (ECF No. 148) (the

 “Order Confirming Plan”)/

         25.     The Plan incorporated all pre-plan obligations and interests contained in the DIP

 Agreement and the DIP Order, including payments due to the DIP Lender and the DIP Lender’s

 rights as to collateral.

         26.     PDG’s failure to pay the DIP Lender has defeated implementation of the Plan and

 DIP Order and arose from the actions described herein, and contributed to the case being

 converted to Chapter 7.

 B.      Lot 1A Ownership History

         27.     Among PDG’s assets, PDG owned a ± 3.29-acre tract of unimproved real property

 in Las Cruces, Dona Ana County, New Mexico sometimes referred to as Mesilla Valley Mall



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 Subdivision Replat No. 5, and located at 510 and 550 S. Telshor Blvd., Las Cruces, New Mexico

 88011 (the “MV Development”).

         28.    Pursuant to the DIP Order and the DIP Agreement, Legalist acquired priming liens

 on all of PDG’s assets, including but not limited to the MV Development.

         29.    The MV Development consisted of two tracts, Lot 1A and Lot 3A.

         30.    Defendant Mesilla Valley Ventures, LLC (“Mesilla Valley”) is a Texas company

 wholly owned by PDG. Mesilla Valley and Dixson is its President. It has no business purpose;

 its single purpose it to act as holding company for Lot 1A.

         31.    Despite the automatic stay being in force, and prior to the Plan’s Confirmation,

 the law firm of Weycer, Kaplan, Pulaski & Zuber, and more specifically counsel Jeff Caruth,

 aided Debtor in transferring Lot 1A to Debtor’s insider, Mesilla Valley, for no consideration and

 without Court approval.

         32.    Subsequently, Mr. Caruth negotiated the sale of Lot 1A from Mesilla Valley to a

 third party.

         33.    Specifically, on March 4, 2022, prior to the Plan’s Confirmation, Mesilla Valley

 and LPC Retail, LLC (“LPC”) entered a Purchase and Sale Agreement for the sale of Lot 1A.

         34.    At the time of the PSA, Mesilla Valley did not own Lot 1A, as it was owned by

 Debtor.

         35.    The Firm represented Mesilla Valley in the negotiation of the PSA, while

 simultaneously representing PDG. Thus, the Firm facilitated the transfer of Debtor’s asset to

 Debtor’s insider, for no consideration, in order to sell that asset to a third party outside this

 Court’s view and supervision.




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        36.     The PSA states that the Seller is the debtor in this bankruptcy proceeding, despite

 the seller being identified in the PSA as Mesilla Valley.

        37.     At the time the PSA was negotiated and executed, there was not a confirmed plan

 allowing either Mesilla Valley or the Debtor to negotiate the sale of Lot 1A and, in fact, the

 automatic stay prohibited Mesilla Valley and LPC from exercising control over the Debtor’s

 property, including Lot 1A.

        38.     On or about April 12, 2022 (more than a month after the PSA was executed) PDG

 informed Legalist that it intended to sell Lot 1A and to use the net proceeds from that sale to pay

 certain claims of the estate, including to Legalist, and to complete the MV Development thereby

 increasing the value of Legalist’s collateral.

        39.     PDG requested that Legalist execute a partial lien release to allow the sale to close.

        40.     Based on PDG’s representation that the proceeds from the sale of Lot 1A would

 be used to improve its collateral, the MV Development, Legalist signed a partial lien release on

 April 14, 2022.

        41.     Nevertheless, at the time, Legalist was a secured creditor of PDG, pursuant to the

 Plan, the DIP Agreement, and its related security and loan documents.

        42.     On April 21, 2022, PDG executed a Special Warranty Deed and transferred Lot

 1A to Mesilla Valley, whose Director and President is Dixson. PDG is also identified as Mesilla

 Valley’s manager. On information and belief, PDG did not receive any consideration for the

 transfer of Lot 1A.

        43.     On May 4, 2022, LPC assigned the PSA to FSLRO 510 South Telshor, Las

 Cruces, LLC (“FSLRO”).




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        44.     On May 27, 2022 Mesilla Valley executed a Special Warranty Deed and

 transferred Lot 1A to FSLRO.

        45.     On May 31, 2022 the sale of Lot 1A to FSLRO closed, and with proceeds being

 disbursed to various entities, including to (1) R2 Contractors Specialty, Inc. ($4,825.32), and

 Utility Block Company, Inc. ($70,981.70) as “Payoff Claim[s] of Lien,” despite the liens of these

 entities no longer being effective as a result of Debtor’s Bankruptcy and the Plan, (2) for legal fees

 of Ferguson Braswell Fraser Kubasta PC ($50,000) based on invoices issued to Prestige

 Development Group, Inc., an entity distinct from the Debtor and with entitlement to proceeds, and

 to the Firm, for work done on behalf of Mesilla Valley and invoiced to Mesilla Valley ($75,000).

        46.     Despite Mesilla Valley being the title owner of Lot 1A at the time of closing, the

 overwhelming portion of the remaining amounts, $1,916,558.82 (“Sale Proceeds”) were wired into

 an account of PDG at Chase Bank (Account xx5229) used by Debtor and immediately spent by

 Dixson for his personal benefit, and for that of entities affiliated with him but not entitled to such

 proceeds, in complete derivation of Legalist’s security interest, and contrary to Dixson’s

 representations as to how such funds would be used.

 C.     Escrow Agreements/Southwestern

        47.     As part of the closing of the sale of Lot 1A, Mesilla Valley, FSLRO, and

 Southwestern (the title company), were party to a Lien Escrow Agreement, which provided, among

 other things, that Southwestern would hold back $200,000 of proceeds to pay off certain liens that

 may come to exist on Lot 1A within a certain period of time.

        48.     All conditions of the Lien Escrow Agreement have since been satisfied and neither

 Southwestern, FSLRO, or any lien holders, are entitled to the $200,000 currently being held by

 Southwestern (“Lien Escrow Monies”), and which has been confirmed by Southwestern.



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         49.     The Lien Escrow Agreement provides that monies currently held by Southwestern

 should be released to Mesilla Valley. However, as Lot 1A was fraudulently transferred to Mesilla

 Valley for no consideration and the Sale Proceeds were deposited directly into Debtor’s account,

 the $200,000 in Southwestern’s possession belongs to the Debtor and, accordingly, must be turned

 over to Plaintiffs.

         50.     Additionally, as part of the closing of the sale of Lot 1A, Mesilla Valley, FSLRO,

 and Southwestern, were party to a Rent Escrow Agreement, which provided, among other things,

 that Southwestern would hold back $35,000 of the proceeds to provide for rent payments to

 FSLRO if the tenant of Lot 1A did not pay rent, resulting from certain construction delays and

 other obligations of Mesilla Valley, provided certain conditions were met (“Rent Escrowed

 Monies” collectively with Lien Escrowed Monies, the “Escrowed Monies”).

         51.     Despite all of the conditions of the Rent Escrow Agreement not being met,

 Southwestern released all of these funds to FSLRO, or otherwise released these funds.

         52.      Because the proceeds of the sale of Lot 1A belong to the Debtor, the Escrowed

 Monies also belong to Debtor and must be turned over to Plaintiffs.

 D.      Dixson Misappropriates and Dissipates Lot 1A Sales Proceeds

         53.     As Dixson was arranging for the improper sale of Lot 1A, he began transferring

 PDG funds to Doma Insurance Agency (“Doma”), a title company, for the benefit of “The Dixson

 Trust[,] 6 Candleleaf CT…The Hills TX,” and on April 19, 2022, transferred $17,000 from PDG’s

 Account #6935 to Doma.

         54.     Upon information and belief, the Dixson Trust is an entity used solely for the

 purpose of assisting Dixson secrete funds from creditors, such as Plaintiffs.




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         55.     Mesilla Valley was nothing more than a figurehead seller having received Lot 1A

  from PDG to enable PDG to sell Lot 1A without Court involvement and to allow Dixson and

  PDG to dissipate funds as they saw fit, and without the knowledge or involvement of Plaintiffs.

         56.     With the Firm’s substantial assistance, Dixson was able to sell PDG’s asset—Lot

  1A—through its affiliate, Mesilla Valley.

         57.     At the time, Legalist was unaware of the existence of Mesilla Valley, or that it

  had received title to Lot 1A from PDG.

         58.     So, while PDG did not receive any consideration for the transfer of Lot 1A to

  Mesilla Valley, Mesilla Valley likewise did not receive any consideration for the Sales Proceeds

  routed to PDG, the net result of which was PDG received consideration for the sale of Lot 1A to

  FSLRO even though it was not a party to the sale of Lot 1A.

         59.     On the same day that the sale closed, May 31, 2022, Dixson wired $500,000 of

  the Sale Proceeds from PDG’s Account #5229 to Doma, also for the benefit of “The Dixson

  Trust[,] 6 Candleleaf CT…The Hills TX.”

         60.     The following day, on June 1, 2022, Dixson wired an additional $28,018.53 from

  PDG’s Account #5229 to Doma for the benefit of “The Dixson Trust[,] 6 Candleleaf CT…The

  Hills TX.”

         61.     Dixson then instructed Doma to use these funds for Entrada Development, LLC’s

  purchase of real property and improvements located at 6 Candleleaf Ct, The Hills, Texas 78738

  (the “Candleleaf Property”).

         62.     Entrada is part of Dixson’s web of companies. Specifically, Dixson formed

  Entrada, established PDG as its manager, while, the Dixson Trust owns its membership interests.


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  Entrada is presently in Chapter 11 bankruptcy. In re Entrada Development, LLC, No. 23-10317

  (Bankr. W.D. Tex).1

           63.      Neither Dixson, the Dixson Trust, Entrada, nor anyone else, provided any

  consideration for the PDG monies used for the purchase of the Candleleaf Property.

           64.      Thereafter, Dixson made improvements to, furnished, and moved into the

  Candleleaf Property, where he, Christiana, and his family resided for a time. On information and

  belief, Dixson’s wife Christiana still resides at the Candleleaf property, though Dixson and his

  wife are seemingly going through a divorce.

           65.      By October 31, 2022, PDG’s Account #5229 at Chase Bank had a zero balance.

  Dixson used most of the Sale Proceeds to support his extravagant lifestyle and for other expenses

  unrelated to PDG. Dixson did not use any of the Sale Proceeds to improve Legalist’s collateral,

  as he had represented to Legalist previously.

           66.      Dixson used the Sale Proceeds to purchase, by way of example and not limitation,

  $528,013.53 for the Candleleaf Property (the “Candleleaf Monies”), a $75,000 2018 Cadillac

  Escalade and a $17,000 watch. Dixson even used $229,531.60 of the Sales Proceeds to pay

  Legalist for extension fees to forestall Legalist’s efforts to collect on the DIP Loan and the

  Gateway DIP Loan2 (the “Extension Fees”).



  1
    While Entrada’s role in the related transactions are set forth in this Amended Complaint, Entrada is not a defendant
  herein and the Plaintiffs are not seeking any relief from Entrada. However, the Plaintiffs reserve all rights as creditors
  or parties-in-interest in the Entrada Chapter 11 bankruptcy case.

  2
    On February 2, 2021, Gateway, an entity wholly owned by PDG, filed its voluntary petition for relief under Chapter
  11 of the United States Code (the “Gateway Bankruptcy”). Case No. 21-bk-30071, In re The Gateway Ventures, LLC.
  Based upon representations made by Dixson, the debtor in the Gateway Bankruptcy also obtained funds from the DIP
  Lender, with its DIP Loan maturing on June 19, 2022, at which time the full balance of the principal, plus all fees and
  interest became due and owing (the “Gateway DIP Obligation”). To date, despite notice and demand, Gateway has
  failed to pay the Gateway DIP Obligation in the amount of $12,426,495. On May 30, 2023, the Gateway Bankruptcy
  was converted to Chapter 7.

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         67.      Dixson transferred portions of the Sale Proceeds to his personal account at Chase

  Bank and then used those funds to purchase furniture, make improvements to the Candleleaf

  Property, for food, entertainment, and a myriad other personal expenses.

         68.      Dixson transferred portions of the Sale Proceeds to a separate PDG account at

  Chase Bank and then transferred those funds to one of his personal accounts at Chase where he

  then squandered them.

         69.      Dixson transferred funds to Gateway’s account at Chase Bank. Dixson admits he

  used PDG funds to pay Gateway expenses.

         70.      Additionally, Christiana Dixon was provided with access to PDG funds and used

  such monies for her own personal benefit, without providing consideration to PDG, including

  but not limited to $25,000 in purchases at Pottery Barn in and around July 2022, which purchases

  she retained.

         71.      PDG monies were also used to make mortgage payments on residential properties

  owned jointly by Dixson and Christiana Dixson, providing Christiana with benefits including

  from sale proceeds of such properties.

         72.      Additionally, Christiana Dixson has had the benefit of living in the Candleaf

  Property since it was purchased by Entrada, and on December 12, 2022, temporary orders were

  entered in her divorce proceeding with Dixson, providing her with sole possession of the

  Candleaf Property during those proceedings.

  E.     PDG Defaults on the DIP Loan

         73.      The DIP Loan matured by its terms on June 24, 2022, at which time the full

  balance of the principal, plus all interest, fees, costs and other charges as set forth in the DIP

  Agreement became due and owing.

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         74.    PDG has failed to repay the DIP Loan, which, as of October 17, 2022, exceeded

  $5,959,710.

         75.    PDG failed to use the Sale Proceeds to pay Legalist anything other than the

  Extension Fees.

         76.    Contrary to its prior representations, PDG used the lion’s share of the Sale

  Proceeds for everything but improving the MV Development.

  F.     The Fraudulent Transfers

         77.    Dixson did not pay PDG or provide equivalent consideration in exchange for the

  portion of the Sale Proceeds that was transferred from PDG to his personal account and/or used

  for his personal vehicle, residence, home improvements, child support, and other personal

  expenses.

         78.    There is no evidence that PDG owed antecedent debt to Dixson that would justify

  PDG transferring funds to Dixson, prior to PDG paying Legalist. Dixson did not, and has not,

  filed a proof of claim in the PDG bankruptcy case.

         79.    Gateway did not pay PDG or provide equivalent consideration to justify the funds

  from the Sales Proceeds that were transferred from PDG to Gateway and/or used for its (and

  Dixson’s) expenses.

         80.    There is no evidence that PDG owed antecedent debt to Gateway that would

  justify PDG transferring funds to Gateway, prior to PDG paying Legalist.

  G.     PDG’s False Representations Induced Legalist to Sign the Partial Lien Release

         81.    In a recent deposition, Dixson testified under oath that PDG transferred Lot 1A to

  Mesilla Valley in exchange for Mesilla Valley paying certain PDG expenses.




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          82.     In reality, PDG transferred Lot 1A to Mesilla Valley when counsel for

  LPC/FSLRO objected to a sale pursuant to the PSA that listed Mesilla Valley as the seller, though

  Mesilla Valley did not own the property.

          83.     Legalist only signed the partial lien release based on PDG’s representations that

  the net proceeds would be used to improve the MV Development and that PDG had plans to pay

  Legalist in full.

          84.     None of the Sale Proceeds were used to repay the DIP Loan. In fact, the only

  payments Legalist received from PDG were, unbeknownst to Legalist, portions of the Sale

  Proceeds paid to Legalist to secure extensions of deadlines under the DIP Agreement.

          85.     At best, only a small fraction of the Sales Proceeds was used to develop the MV

  Development.

          86.     Both PDG and Mesilla Valley are beneficially owned, and controlled by Dixson.

  The foregoing actions were clear efforts to defraud PDG’s creditors. Dixson defrauded Legalist

  into giving a release of Lot 1A, Dixson then removed Lot 1A from PDG’s control and outside

  the purview of this Court, all with the plan to sell Lot 1A, route the proceeds from that sale to

  PDG, at which time, PDG fraudulently transferred the Sales Proceeds to, inter alia, Dixson and

  Gateway and for the purchase of the Candleleaf Property. PDG and Dixson attempted to conceal

  the sale of Lot 1A and the resulting Sale Proceeds by failing to report them to the Bankruptcy

  Court. They were only uncovered through Legalist’s investigation.

          87.     More so, in March 2023, Dixson offered to purchase a valuable property of

  Gateway, out of bankruptcy, with consent from Legalist. Along with his offer of purchase,

  Dixson falsely represented that he had sufficient available funds and submitted a forged Wells




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  Fargo Bank statement, dated “February 1, 2023 – February 28, 2023,” which reflected an account

  in the name of the Dixson Trust, with a balance of $1,967,765.58.

          88.     In reality, Dixson, on behalf of himself and the Dixson Trust, manipulated this

  document, as this account did not exist or hold such funds. In fact, the Dixson Trust’s accounts

  with Wells Fargo had been closed years prior.

          89.     Dixson submitted forged bank statements for the purpose of misleading Plaintiffs.

                                         COUNT I – FRAUD
                                      (PDG And Michael Dixson)

          90.     All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

          91.     PDG and Dixson, seeking to induce Legalist to release its prime lien on Lot 1A to

  allow for the sale of Lot 1A to a non-debtor, made misrepresentations to Legalist regarding how

  PDG intended to use the Sales Proceeds. Specifically, PDG represented that the net sales

  proceeds would be used to pay claims and to complete the MV Development and further that

  “[t]here is a take out of Legalist waiting in the wings for this to close.”.

          92.     When PDG and Dixson made the representations, they knew the representations

  were false, or made the representations recklessly as a positive assertion and without knowledge

  of their trust. By way of example and not limitation, considering Dixson arranged for a

  $528,013.53 payment to the title company for the purchase of the Candleleaf Property the same

  day the Lot 1A sale closed, it is clear that the net proceeds were not to be used as he and PDG

  represented to Legalist.

          93.     PDG and Dixson made the misrepresentations with the intent that Legalist act

  upon them in providing the partial lien release to allow the sale of Lot 1A.

          94.     Legalist relied on these misrepresentations and signed the partial lien release.

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         95.     Legalist relied on those misrepresentations to its detriment and, as a result suffered

  economic injury. Legalist was harmed in the amount of the Sales Proceeds, and in the amount of

  the loss in value of the MV Development due to the sale of Lot 1A and PDG and Dixson’s failure

  to use the Sales Proceeds to improve the MV Development. Further, because the partial lien

  release was obtained via fraud, Legalist requests it be set aside.

   COUNT II - FRAUDULENT TRANSFER (Tex. Bus. & Com. Code Ann. § 24.005(a)(1))
                          (PDG And Michael Dixson)

         96.     All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         97.     At all times relevant, Dixson has controlled PDG and Mesilla Valley. Dixson has

  directed and orchestrated all actions on behalf of PDG and Mesilla Valley.

         98.     PDG and Dixson always intended to abscond with the proceeds from the sale of

  Lot 1A. It transferred Lot 1A to Mesilla Valley (an entity owned by PDG) to avoid Court

  oversight and approval of the sale. Once PDG transferred Lot 1A to Mesilla Valley, PDG,

  Dixson, and Mesilla Valley moved forward with the sale of Lot 1A to FSLRO.

         99.     Dixson, individually, and as an agent of PDG and Mesilla Valley, or on behalf of

  PDG and Mesilla Valley, orchestrated the transfer of Lot 1A from PDG to Mesilla Valley and

  then from Mesilla Valley to FSLRO.

         100.    Legalist has a lien on all of the proceeds from the sale of Lot 1A.

         101.    At the closing of the sale of Lot 1A to FSLOR, the seller (Mesilla Valley) was to

  receive no less than $1,916,558.82.

         102.    The Sales Proceeds were not deposited into a Mesilla Valley account, but instead

  were wired into PDG’s account #5229 at Chase Bank.




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         103.    Dixson, individually and as an agent of PDG then orchestrated the transfer of the

  Sales Proceeds to himself, the Dixson Trust, Gateway, among other entities not entitled to funds,

  after the DIP Lender’s claim arose and shortly before the money owed to the DIP Lender became

  due.

         104.    The transfer of the Sales Proceeds from PDG to Dixson was a fraudulent transfer

  because the DIP Lender’s claim arose before or within a reasonable time after transfers, and the

  transfers were done with the actual intent to hinder, delay, or defraud the DIP Lender. See TEX.

  BUS. & COM. CODE § 24.005(a)(1).

         105.    Intent can be inferred from such circumstances as the following, most of which

  are present herein:

                a. the transfer was to an “insider” – Dixson controls both PDG and
                   Mesilla Valley and ultimately was always in control of the Sales
                   Proceeds (see TEX. BUS. & COM. CODE §§ 24.002(7),
                   24.005(b)(1));
                b. PDG and Dixson retained possession and control of the Sales
                   Proceeds after the transfer of Lot 1A to FSLRO (see TEX. BUS.
                   & COM. CODE § 24.005(b)(2));

                c. The transfer was concealed – the transfer of the Sales Proceeds from PDG was
                   fraud in that:

                        i. Dixson failed to inform the DIP Lender that it received the Sales
                           Proceeds;

                        ii. PDG and/or Dixson did not use the Sales Proceeds to pay the DIP
                            Lender or to improve other estate collateral;

                        iii. PDG and/or Dixson instead transferred the Sales Proceeds, without
                             informing the DIP Lender, to, inter alia:

                               a. a title company for the purchase of the
                                  Candleleaf Property;
                               b. two PDG accounts and one personal account at
                                  Chase Bank for use on personal, living, and


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                                   entertainment expenses, including child support;
                                   and
                               c. to The Gateway account at Chase Bank;
                        iv. PDG and Dixson did not inform the DIP Lender how
                            the Sales Proceeds were used (see TEX. BUS. & COM.
                            CODE § 24.005(b)(3));
                    d. the transfer was of substantially all Debtor’s assets (see
                       TEX. BUS. & COM. CODE § 24.005(b)(5));
                    e. PDG and Dixson removed or concealed assets – Dixson
                       took the Sales Proceeds and used them for virtually
                       everything but developing the remainder of the MV
                       Development ((see TEX. BUS. & COM. CODE §
                       24.005(b)(7));
                    f. PDG did not receive any consideration for the Sales
                       Proceeds used by Gateway and Dixson (see TEX. BUS. &
                       COM. CODE § 24.005(b)(8)); and
                    g. the transfers occurred shortly before or after a substantial
                       debt was incurred – the DIP Lender loaned the money on
                       April 14, 2021, and April 23, 2021, the transfer from
                       Mesilla Valley to FLSRO occurred on May 31, 2022, and
                       PDG defaulted on June 24, 2022; (see TEX. BUS. & COM.
                       CODE § 24.005(b)(10)).


         106.    The impact of the foregoing on the DIP Lender’s collateral was particular to the

  DIP Lender. Accordingly, the DIP Lender requests that this Court declare the transfer of the

  funds in favor of Dixson void and unwind the transfers. See TEX. BUS. & COM. CODE §

  24.008(a)(1). The DIP Lender also requests an attachment against the funds or other property of

  Dixson in accordance with the applicable Texas Rules of Civil Procedure and the Civil Practice

  and Remedies Code relating to ancillary proceedings. See TEX. BUS. & COM. CODE §

  24.008(a)(2). The DIP Lender also requests an injunction restricting Dixson from disposing of

  other property and assets. See TEX. BUS. & COM. CODE § 24.008(a)(3)(A) & (B). The DIP

  Lender also requests an injunction against Dixson from assigning to, or otherwise negotiating the

  funds with third parties. See TEX. BUS. & COM. CODE § 24.008(a)(3)(A).


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             COUNT III – FRAUDULENT TRANSFER, 11 U.S.C. § 548(a)(1)(A)
                              (PDG and Michael Dixson)

         107.    All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         108.    The transfer of the Sales Proceeds from PDG to Dixson was a fraudulent transfer

  because the DIP Lender’s claim arose before or within a reasonable time after transfers, and the

  transfers were done with the actual intent to hinder, delay, or defraud the DIP Lender. See 11

  U.S.C. § 548(a)(1)(A).

         109.    Intent can be inferred from such circumstances as the following, most of which

  are present herein, from the facts as set forth in the subsections of paragraph 105 above.

         110.    The impact of the foregoing on the DIP Lender’s collateral was particular to the

  DIP Lender. Accordingly, the Plaintiffs request that this Court declare the transfer of the funds

  in favor of Dixson void and unwind the transfers. See 11 U.S.C. § 548(a)(1)(A).

                  COUNT IV - FRAUDULENT TRANSFER (Tex. Bus. & Com. Code
                                    Ann. § 24.005(a)(2))
                                 (PDG And Michael Dixson)

         111.    All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         112.    The transfers of the Sales Proceeds from PDG to Dixson were fraudulent transfers

  as to the DIP Lender because the DIP Lender’s claim arose before or within a reasonable time of

  the transfer, the transfer was made without PDG receiving a reasonably equivalent value in

  exchange for the transfer, and PDG intended to incur, or believed or reasonably should have

  believed that it would incur, debts beyond its ability to pay them as they became due. See TEX.

  BUS. & COM. CODE § 24.005(a)(2).




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          113.     The transfer of the Sales Proceeds from PDG to Dixson were fraudulent transfers

  as to the DIP Lender because the DIP Lender’s claim arose before or within a reasonable time

  after the transfer was made, the transfer was made without PDG receiving a reasonably

  equivalent value in exchange for the transfer, and PDG was insolvent at that time or it became

  insolvent as a result of the transfer. See TEX. BUS. & COM. CODE § 24.006(a). PDG was

  insolvent because the sum of its debts was greater than all of its assets at fair valuation, and

  because PDG does not generally pay its debts as they become due are presumed to be insolvent.

  See TEX. BUS. & COM. CODE § 24.003.

          114.     The transfer of the Sales Proceeds from PDG to Dixson were fraudulent transfers

  as to the DIP Lender because the DIP Lender’s claim arose before or within a reasonable time

  after the transfer, and the transfer was made to insiders (see TEX. BUS. & COM. CODE §

  24.002(7)(A)(i)) for an antecedent debt, PDG was insolvent at the time, and the insiders had

  reasonable cause to believe PDG was insolvent. See TEX. BUS. & COM. CODE § 24.006(b).

  PDG was insolvent because the sum of its debts was greater than all of its assets at fair valuation,

  and because PDG does not generally pay its debts as they become due, it is presumed to be

  insolvent. See TEX. BUS. & COM. CODE § 24.003.

          115.     Accordingly, these transfers are fraudulent as to Plaintiffs and Plaintiffs are

  entitled to judgment against PDG and Dixson disregarding the transfers and allowing Plaintiffs

  to attach or levy execution upon the property conveyed, or awarding the value of the transfers to

  Plaintiffs.

                 COUNT V – FRAUDULENT TRANSFER, 11 U.S.C. § 548(a)(1)(B)
                               (PDG and Michael Dixson)

          116.     All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

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         117.    The transfers of the Sales Proceeds from PDG to Dixson were fraudulent transfers

  as to the DIP Lender because the DIP Lender’s claim arose before or within a reasonable time of

  the transfer, the transfer was made without PDG receiving a reasonably equivalent value in

  exchange for the transfer, and PDG intended to incur, or believed or reasonably should have

  believed that it would incur, debts beyond its ability to pay them as they became due. See 11

  U.S.C. § 548(A)(1)(B).

         118.    The transfer of the Sales Proceeds from PDG to Dixson were fraudulent transfers

  as to the DIP Lender because the DIP Lender’s claim arose before or within a reasonable time

  after the transfer was made, the transfer was made without PDG receiving a reasonably

  equivalent value in exchange for the transfer, and PDG was insolvent at that time or it became

  insolvent as a result of the transfer. See 11 U.S.C. § 548(A)(1)(B). PDG was insolvent because

  the sum of its debts was greater than all of its assets at fair valuation, and because PDG does not

  generally pay its debts as they become due are presumed to be insolvent.

         119.    The transfer of the Sales Proceeds from PDG to Dixson were fraudulent transfers

  as to the DIP Lender because the DIP Lender’s claim arose before or within a reasonable time

  after the transfer, and the transfer was made to insiders for an antecedent debt, PDG was insolvent

  at the time, and the insiders had reasonable cause to believe PDG was insolvent. PDG was

  insolvent because the sum of its debts was greater than all of its assets at fair valuation, and

  because PDG does not generally pay its debts as they become due, it is presumed to be insolvent.

  See 11 U.S.C. § 548(a)(1)(B).

         120.    Accordingly, these transfers are fraudulent as to Plaintiffs and Plaintiffs are

  entitled to judgment against PDG and Dixson disregarding the transfers and allowing Plaintiffs




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  to attach or levy execution upon the property conveyed, or awarding the value of the transfers to

  Plaintiffs.

                          COUNT VI - MONEY HAD AND RECEIVED
                                 (PDG And Michael Dixson)

          121.   All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

          122.   Alternatively, still urging and relying upon the matters alleged above, the DIP

  Lender would show that Dixson, PDG, Christiana Dixson and the Dixson Trust have been

  unjustly enriched by receiving funds from Mesilla Valley’s transfer of Lot 1A. Those funds

  rightfully belong to the DIP Lender. PDG, Dixson, the Dixson Trust, Christiana Dixson, and

  Gateway received funds from the Sales Proceeds that should have been directed for use as

  payment for DIP Lender, yet payment has been refused to remit payment of the amounts due to

  the DIP Lender. Thus, PDG, Dixson, the Dixson Trust, Christiana Dixson, and Gateway hold

  money that belongs to the DIP Lender in equity and good conscience.

                   COUNT VII - RECOVERY OF POST-PETITION TRANSFERS

          123.   All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

          124.   To the extent PDG made post-petition transfers to Dixson, the Dixson Trust,

  Gateway, and/or other non-debtors, such transfers were unauthorized post-petition transfers and

  are avoidable under 11 U.S.C. § 549 and 11 U.S.C. § 550.

          125.   The Plaintiff Trustee seeks to avoid and recover all such transfers and reserves its

  rights to amend and supplement this complaint to identify all such transfers.




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                COUNT VIII – (TURNOVER OF PROPERTY, 11 U.S.C. § 542(a))
                                 (Defendant Southwestern)
         126.      All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         127.      Section 542(a) of the Bankruptcy Code provides that an entity (other than a

  custodian) in possession, custody or control, during the case, of property of the estate must

  “deliver to the trustee, and account for, such property or the value of such property.” 11 U.S.C.

  § 542(a).

         128.      Defendant Southwestern is in possession of the Escrowed Monies.

         129.      The Escrowed Monies are property of the Debtors’ bankruptcy estate.

         130.      Demand has been made upon Southwestern for the turnover of the Escrowed

  Monies and Southwestern has failed and refused to turnover the Escrowed Monies.

         131.      Pursuant to Section 542(a) of the Bankruptcy Code, Southwestern is required to

  turnover the Escrowed Monies to the Trustee of the Debtor for the benefit of the Debtors’

  bankruptcy estate and provide an accounting with respect to the Escrowed Monies.

   COUNT IX – FRAUDULENT TRANSFER (Tex. Bus. & Com. Code Ann. § 24.005(a)(1)
               (Defendant Debtor, Christiana Dixson, Dixson, Dixson Trust)

         132.      All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         133.      At all relevant times, Legalist has a been creditor of Debtor.

         134.      After Legalist’s claim arose, Debtor transferred no less than the Candleleaf

  Monies to Doma, for the benefit of the Dixson Trust, Dixson, and Christiana Dixson without

  consideration.

         135.      The Dixson Trust then transferred the Candeleaf Monies towards the purchase of

  the Candleleaf Property, for the benefit of Dixson, the Dixson Trust, and Christiana Dixson.

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         136.      No consideration was provided to the Debtor, Dixson Trust, or otherwise, for its

  receipt of the benefit of the Candleleaf Property.

         137.      These monies were transferred by the Debtor, for the ultimate benefit of the

  Dixson Trust, Dixson, and Christiana Dixson, with the actual intent to hinder, delay, and defraud

  Plaintiff and the Debtor’s estate.

         138.      Accordingly, these transfers are fraudulent as to Plaintiffs and Plaintiffs are

  entitled to judgment against Debtor, Christiana Dixson, Dixson, and the Dixson Trust,

  disregarding the transfers and allowing Plaintiffs to attach or levy execution upon the property

  conveyed, or awarding the value of the transfers to Plaintiffs.

                COUNT X – FRAUDUENT TRANSFER, 11 U.S.C. § 548(a)(1)(A)
                    (Defendant Debtor, Christiana, Dixson, Dixson Trust)

         139.      All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         140.      At all relevant times, Legalist has a been creditor of Debtor.

         141.      After Legalist’s claim arose, Debtor transferred no less than the Candleleaf

  Monies to Doma, for the benefit of the Dixson Trust, Dixson, and Christiana Dixson without

  consideration.

         142.      The Dixson Trust then transferred the Candeleaf Monies towards the purchase of

  the Candleleaf Property, for the benefit of Dixson, the Dixson Trust, and Christiana Dixson.

         143.      No consideration was provided to the Debtor, Dixson Trust, or otherwise, for its

  receipt of the benefit of the Candleleaf Property.

         144.      These monies were transferred by the Debtor, for the ultimate benefit of the

  Dixson Trust, Dixson, and Christiana Dixson, with the actual intent to hinder, delay, and defraud

  Plaintiff and the Debtor’s estate.

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         145.      Accordingly, these transfers are fraudulent as to Plaintiffs and Plaintiffs are

  entitled to judgment against Debtor, Christiana Dixson, Dixson, and the Dixson Trust,

  disregarding the transfers and allowing Plaintiffs to attach or levy execution upon the property

  conveyed, or awarding the value of the transfers to Plaintiffs.

  COUNT XI – FRAUDULENT TRANSFER (Tex. Bus. & Com. Code Ann. § 24.005(a)(2))
                (Defendant Debtor, Christiana, Dixson, Dixson Trust)
         146.      All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         147.      At all relevant times, Legalist has a been creditor of Debtor.

         148.      After Legalist’s claim arose, Debtor transferred no less than the Candleleaf

  Monies to Doma, for the benefit of the Dixson Trust, Dixson, and Christiana Dixson, without

  consideration.

         149.      The Dixson Trust, via Doma, then transferred the Candeleaf Monies towards the

  purchase of the Candleleaf Property, for the benefit of the Dixson Trust, Dixson, and Christiana

  Dixson, without consideration.

         150.      Reasonably equivalent value was not provided to the Debtor, or otherwise, for its

  receipt of the benefit of the Candleleaf Property.

         151.      At the time of the transfers of the Candleleaf Monies, Debtor was insolvent,

  intended incur, or believed or reasonably believed that it would incur debtor beyond its ability to

  pay them as they came due.

         152.      Accordingly, these transfers are fraudulent as to Plaintiffs and Plaintiffs are

  entitled to judgment against Debtor, Christiana Dixson, Dixson, and the Dixson Trust,

  disregarding the transfers and allowing Plaintiffs to attach or levy execution upon the property

  conveyed, or awarding the value of the transfers to Plaintiffs.


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              COUNT XII – FRAUDUENT TRANSFER, 11 U.S.C. § 548(a)(1)(B)
                (Defendant Debtor, Christiana Dixson, Dixson, Dixson Trust)

         153.      All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         154.      At all relevant times, Legalist has a been creditor of Debtor.

         155.      After Legalist’s claim arose, Debtor transferred no less than the Candleleaf

  Monies to Doma, for the benefit of the Dixson Trust, Dixson, and Christiana Dixson, without

  consideration.

         156.      The Dixson Trust, via Doma, then transferred the Candeleaf Monies towards the

  purchase of the Candleleaf Property, for the benefit of the Dixson Trust, Dixson, and Christiana

  Dixson, without consideration.

         157.      Reasonably equivalent value was not provided to the Debtor, or otherwise, for its

  receipt of the benefit of the Candleleaf Property.

         158.      At the time of the transfers of the Candleleaf Monies, Debtor was insolvent,

  intended incur, or believed or reasonably believed that it would incur debtor beyond its ability to

  pay them as they came due.

         159.      Accordingly, these transfers are fraudulent as to Plaintiffs and Plaintiffs are

  entitled to judgment against Debtor, Christiana Dixson, Dixson, and the Dixson Trust,

  disregarding the transfers and allowing Plaintiffs to attach or levy execution upon the property

  conveyed, or awarding the value of the transfers to Plaintiffs.

     COUNT XIII – FRAUDULENT TRANSFER (Tex. Bus. & Com. Code Ann. § 24.006
               (Defendant Debtor, Christiana Dixson, Dixson, Dixson Trust)

         160.      All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.


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         161.      At all relevant times, Legalist has a been creditor of Debtor.

         162.      After Legalist’s claim arose, Debtor transferred no less than the Candleleaf

  Monies to Doma, for the benefit of the Dixson Trust, Dixson, and Christiana Dixson, without

  consideration.

         163.      The Dixson Trust, via Doma, then transferred the Candeleaf Monies towards the

  purchase of the Candleleaf Property, for the benefit of the Dixson Trust, Dixson, and Christiana

  Dixson.

         164.      The Candleleaf Monies were transferred without the receipt of reasonably

  equivalent value in exchange for the transfers, and PDG was insolvent at the time the Candleleaf

  Monies were transferred.

         165.      Additionally, to the extent that any portion of the Candleleaf Monies were

  transferred as payment on an antecedent debt, such transfer is fraudulent as the Dixson Trust,

  Dixson, and Christiana Dixson, are insiders of PDG, and the Dixson Trust, Dixson, and

  Christiana Dixson, were aware that PDG was insolvent at the time of the transfers.

         166.      At the time of the transfers of the Candleleaf Monies, Debtor was insolvent,

  intended incur, or believed or reasonably believed that it would incur debtor beyond its ability to

  pay them as they came due.

         167.      Accordingly, these transfers are fraudulent as to Plaintiffs and Plaintiffs are

  entitled to judgment against Debtor, Christiana Dixson, Dixson, and the Dixson Trust,

  disregarding the transfers and allowing Plaintiffs to attach or levy execution upon the property

  conveyed, or awarding the value of the transfers to Plaintiffs.




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             COUNT XIV - (Avoidance of Postpetition Transfers - 11 U.S.C. § 549)

         168.    All factual allegations set forth elsewhere in this Complaint are incorporated by

 reference in support of this cause of action as if specifically alleged herein.

         169.    The Candleleaf Monies were transferred after the Petition Date.

         170.    The Candleaf Monies were transfers of the property of the estate.

         171.    The Candleaf Monies were not authorized under the Bankruptcy Code or by the

 Bankruptcy Court.

         172.    Based upon the foregoing, Plaintiff Trustee may avoid the Candleleaf Monies

 pursuant to Section 549 of the Bankruptcy Code.

          COUNT XV (Recovery of Avoided Postpetition Transfers - 11 U.S.C. § 550)

         173.    All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         174.    Plaintiff Trustee is entitled to avoid the postpetition Candleleaf Monies pursuant

  to Section 549 of the Bankruptcy Code.

         175.    Defendant Dixson Trust and Dixson were the initial transferees of the Candleleaf

  Monies.

         176.    Entrada was the entity for whose benefit the Candleleaf Monies were made.

         177.    Pursuant to Section 550(a) of the Bankruptcy Code, Plaintiff Trustee is entitled to

  recover the postpetition Candleleaf Monies from Defendants Dixson, and Dixson Trust, plus

  interest thereon to the date of payment and the costs of this action.

         178.    By reason of the foregoing, Plaintiff Trustee is entitled to recover the proceeds or

  value of the postpetition Candleleaf Monies pursuant to Section 550(a) of the Bankruptcy Code.




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                                    COUNT XVI – ALTER EGO
                                        (Mesilla Valley)
         179.    All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         180.    This is an action seeking a declaration that Mesilla Valley is the alter ego of

  Debtor.

         181.    Mesilla Valley is influenced and governed by Debtor. Neither Mesilla Valley nor

  Debtor has any employees and they are both beneficially owned and controlled by Dixson.

         182.    There is such unity of ownership and interest between Mesilla Valley and Debtor

  that one is inseparable from the other. Indeed, Mesilla Valley has no business purpose other than

  to act as holding company for an asset of Debtor, Lot 1A.

         183.    Mesilla Valley serves at the behest of Dixson and PDG, and is used solely for the

  purpose of Dixson and PDG committing fraud.

         184.    Moreover, Mesilla Valley negotiated the sale of Lot 1A (as seller) at a time when

  it did not own the property, as Debtor was the owner of the property. Thus, Mesilla Valley as a

  mere instrumentality of Debtor to achieve the sale of Debtor’s asset outside the purview and

  supervision of this Court.

         185.    While Mesilla Valley retained the Firm to represent it in the sale of Lot 1A, the

  Firm received payment from Debtor.

         186.    Moreover, the Sale Proceeds from the sale of Lot 1A (in which Mesilla Valley

  was the alleged seller) were deposited directly into an account of Debtor, after which they were

  promptly squandered or otherwise use at the behest of Dixon and PDG, and for non-business

  purposes of PDG.




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         187.      Debtor’s receipt of the Lot 1A Sale Proceeds was concealed, as it was not reported

  in Debtor’s periodic reporting to this Court.

         188.      Mesilla Valley and PDG are alter egos of one another, did not observe corporate

  formalities particularly when transacting business with one another, and acted as if they were one

  and the same.

         189.      Thus, adherence to the corporate fiction of a separate entity would, under these

  circumstances, sanction a fraud or promote injustice. Plaintiffs respectfully request the Court find

  that Mesilla Valley is an alter ego of Debtor.

         190.      Accordingly, Plaintiff is entitled to judgment against Mesilla for any amounts

  shown to be due and owing by Debtor to Plaintiffs.

                             COUNT XVII – CIVIL CONSPIRACY
                  (Weycer, Kaplan, Pulaski & Zuber, Debtor, Dixson, Mesilla Valley)

         191.      All factual allegations set forth elsewhere in this Complaint are incorporated by

  reference in support of this cause of action as if specifically alleged herein.

         192.      The Firm, through Mr. Caruth, together with Dixson (acting personally and as

  representative of Debtor and Mesilla Company) reached an agreement to sell Lot 1A, before the

  Plan was confirmed and while the automatic stay was in place, outside of this Court’s purview

  and supervision.

         193.      To accomplish that goal, Defendants conspired to fraudulently transfer an asset of

  the Debtor—Lot 1A—to Messila Valley for no consideration.

         194.      During the sale negotiations, Mr. Caruth sent correspondence to all parties

  involved stating that the sale would have to be approved by the Court under section 363(f) of the

  Bankruptcy Code.




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         195.    Instead, Mr. Caruth acted in furtherance of the conspiracy when he facilitated the

  fraudulent transfer of Lot 1A from Debtor to Debtor’s alter ego, Messila Valley, for no

  consideration and without the Court’s authorization.

         196.    Mr. Caruth negotiated the Purchase and Sale Agreement for Lot 1A and

  represented Messila Valley in said transaction.

         197.    The Purchase and Sale Agreement for Lot 1A was executed on March 4, 2022,

  before the Plan was confirmed and when the automatic stay was still in place.

         198.    The Firm received $75,000 in compensation for the sale of Lot 1A, which were

  paid from the proceeds of the sale. The Firm invoiced Messila Valley c/o Debtor for its fees in

  connection with the sale of Lot 1A.

         199.    But for the Firm’s actions, Debtor would not have been able to sell Lot 1A and,

  in turn, Dixson would not have had access to the sale proceeds that he immediately dissipated.

         200.    Plaintiffs suffered damages as a direct result of Defendants’ conspiracy to

  fraudulently transfer Lot 1A from Debtor to Mesilla Valley in the amount of the Sale Proceeds

  plus the amounts paid to third-parties, by Southwestern, from the proceeds of the sale.

                                          CONCLUSION

         For the reasons listed herein, Plaintiff asks that Defendants PDG Prestige, Inc., Dixson,

  the Dixson Trust through Dixson, Southwestern Abstract & Title Company, Inc., and Christiana

  Dixson, be cited to appear and answer this Complaint, and, upon final hearing, Plaintiffs have

  judgment against Defendants for actual damages, treble damages, and attorneys’ fees based on

  the causes of action asserted in the foregoing Counts; exemplary damages; pre- and post-

  judgment interest at the maximum rate allowed by applicable law; avoiding post-petition

  transfers in the amount of no less than $1,916,558.82 pursuant to 11 U.S.C. § 549 and, to the



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  extent necessary, 11 U.S.C. § 550; and all costs of suit. Plaintiffs also request the partial lien

  release related to Lot 1A be set aside; and for turnover of the Escrowed Monies from Defendant

  Southwestern Abstract & Title Company, Inc. pursuant to 11 U.S.C. §542(a). Further, Plaintiff

  asks this Court to grant all such other and further relief, at law and in equity, to which it may be

  justly entitled.




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  Dated: February 23, 2024                   Respectfully submitted,

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